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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF VIRGINIA
                            Richmond Division



BRIAN MCFADDEN,

      Plaintiff,

V.                                       Civil Action No. 3:18-inc-l


LULA WILLIAMS, et al.,
as individuals.

      Defendants.


                           MEMORANDUM OPINION


      This matter is before the Court on Brian McFadden's AMENDED


MOTION TO QUASH PLAINTIFFS' SUBPOENA TO BRIAN MCFADDEN TO TESTIFY

AT DEPOSITION IN A CIVIL ACTION (EOF No. 4).i For the following

reasons, the AMENDED MOTION TO QUASH PLAINTIFFS' SUBPOENA TO BRIAN

MCFADDEN TO TESTIFY AT DEPOSITION IN A CIVIL ACTION (EOF No. 4)

will be granted in part and denied in part.

                                 BACKGROUND


      In Williams v. Big Picture Loans, LLC, 329 F. Supp. 3d 248

(E.D. Va. 2018),2 the Court set out the basis for this litigation

and   the   efforts   of   the   two   corporate   defendants.   Ascension

Technologies, Inc. (''Ascension") and Big Picture Loans, LLC ("Big



      ^ This matter was transferred from the United States District
Court for the Western District of Michigan.
     2 The published version of the Memorandum Opinion is Williams
V. Big Picture Loans, LLC, No. 3:17-cv-461, ECF No. 146, and it is
a redacted version of the sealed and complete Memorandum Opinion
found at Williams, No. 3:17-cv-461, ECF No. 130.
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Picture    Loans")      (collectively          the   ''Corporate   Defendants")      to

escape    the   reach     of this       case    by   trying to     come    within   the

sovereign immunity of the Lac Vieux Desert Band of Lake Superior

Chippewa Indians (the "Tribe").                For the reasons set forth in the

Memorandum Opinion, the Corporate Defendants' motion to dismiss

this case for lack of jurisdiction under a claim of sovereign

immunity was rejected.            That decision is pending before the United

States Court of Appeals for the Fourth Circuit.

       The plaintiffs' Complaint against the Corporate Defendants

and Martorello alleges two violations of the federal Racketeering

Influenced Corrupt Organizations Act, 18 U.S.C. §§ 1962(c) and

1962(d), as well as violation of Virginia's usury laws, a claim

for unjust enrichment, and a plea for declaratory judgment.

       The facts that give rise to these claims are outlined in the

Memorandum Opinion, Williams,                329 F.    Supp, 3d    at 253-66.         As

explained in the Memorandum Opinion, the corporate structures here

are    convoluted     and   somewhat difficult to follow.                 In    sum, the

Memorandum      Opinion     recites      a     structure   that    was    manipulated

principally for the purpose of affording Martorello and his related

entities the protection of tribal immunity while violating usury

laws    when,    in   fact,       the   applicable     test   shows      that    neither

Ascension nor Big Picture Loans is an arm of the tribe, and that,

therefore,      neither     are    entitled     to   immunity.     The    fundamental

purpose of the corporate arrangements was to permit the defendants
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to evade the usury laws of the states, including those of Virginia,

and to allow the making of consumer loans at rates approximating

699% per annum, with the overwhelming share of the yield of the

repayment of those        loans      going   to Martorello       or   corporations

controlled by him and a very small portion going to the Tribe.

      After the Corporate Defendants appealed from the decision

denying them protections of sovereign immunity, the case was set

for trial on the claims against Martorello.                    The case against

Martorello was set for trial to begin on March 18, 2019, but as

explained in the Memorandum Order entered on January 23, 2019,

Williams, No. 3:17-cv-461, EOF No. 323, the Corporate Defendants

thwarted the discovery efforts of the plaintiffs and Martorello to

adequately prepare for trial. It therefore became necessary to

continue the trial against Martorello generally, because, in part,

of the need to take the deposition of Brian McFadden and others

who   are   employed     by   Ascension      but   were   formerly    employed    by

Bellicose     Capital,    LLC   ("Bellicose").            As   explained   in    the

Memorandum Opinion, Bellicose was controlled by Martorello, but

Bellicose was acquired by the Tribe in 2015. Williams, 329 F. Supp.

3d at 259. Bellicose's assets were assigned to Ascension and its

liabilities were       assigned to Big         Picture Loans, and Bellicose

ceased   to   exist.      Id.   at    261.   This   restructuring      (which    saw

Ascension and Big Picture Loans take on lending operations of

Bellicoise and another Martorello company) was part of a plan by
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Martorello,   Ascension,   and   Big   Picture   to   clothe   a   lending

operation—which the United States District Court for the Southern

District of New York said could be regulated under New York's non-

discriminatory anti-usury laws—in the Tribe's sovereign immunity.

Id. at 257-259; see also Qtoe-Missouria Tribe of Indians v. N.Y.

State Dep't of Fin. Servs., 974 F. Supp. 2d 353, 360-61 (S.D.N.Y.

2013); aff'd, 769 F.3d 105 {2d Cir. 2014).

     With that in mind, and precluded from conducting discovery

against the Corporate Defendants because of their appeal, the
plaintiffs sought to obtain information from former Bellicose
employees about Bellicose and its operations as well as the
transformation of Bellicose and affiliated entities into Ascension

and Big Picture Loans.      That evidence was intended to help them
prove their merits case against Martorello.           Although Martorello
did not initiate the depositions against the former Bellicose

employees, he has said he needs information from the to aid in his
defense.


     McFadden is the President of Ascension. McFadden was formerly

the president of Bellicose Capital (^'^Bellicose"), and he is a part
owner of Eventide Credit Acquisitions, LLC (^'Eventide"). Eventide

provided the initial loan of $300M that was to fund the lending
operations to be conducted by Ascension and Big Picture Loans after
Bellicose became what is now Ascension and Big Picture Loans.
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      The   plaintiffs   from   Williams,    No.   3:17-cv-461,       served

McFadden with two subpoenas ad testificandum, one under Federal

Rule of Civil Procedure 30(b)(1) and the other under Federal Rule

of Civil Procedure 45. After the Corporate Defendants filed their

appeal, McFadden's counsel and plaintiffs' counsel discussed the
subpoenas, and plaintiffs' counsel made clear that they planned to
proceed with a deposition of McFadden under the Rule 45 subpoena.
      McFadden, who is represented by the same law firm as the

Corporate    Defendants,   filed    the     AMENDED     MOTION   TO    QUASH
PLAINTIFFS' SUBPOENA TO BRIAN MCFADDEN TO TESTIFY AT DEPOSITION IN

A CIVIL ACTION (EOF No. 4). The plaintiffs responded to that motion

(EOF No. 6), and McFadden replied (EOF No. 10). The parties
presented oral argument.

      After the AMENDED MOTION TO QUASH PLAINTIFFS' SUBPOENA TO

BRIAN MCFADDEN TO TESTIFY AT DEPOSITION IN A CIVIL ACTION (EOF No.

4) was ripe, but before the Court had a hearing on the motion, the
Court decided the Corporate Defendants' motion to stay in Williams.

See   No.   3:17-cv-461, ECF No.     323.    Relevant    here, the Court

confirmed that neither Matt Martorello (the third defendant in the

case) nor the plaintiffs could serve discovery directly on the
Corporate Defendants, because the Corporate Defendants' appeal to
the Fourth Circuit must be respected. Id. at 7, 9. But, the Court

also held that the case against Matt Martorello would not be stayed

even though the trial had to be moved because of the delayed
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discovery caused by expansive assertions of sovereign immunity of

which the assertion by Liang is but a part.            Id. at 6.    Thus,

discovery may proceed against Matt Martorello, because the Court

is divested only ^^over [the] aspects of the case involved in the

appeal." Id. at 8-9 (quoting Griqqs v. Provident Consumer Disc.

Co., 459 U.S. 56, 58 (1982)). Martorello's trial date has been

continued generally.

                                 DISCUSSION


     A court must quash or modify a subpoena that ^^subjects a

person to undue burden" or that ''requires disclosure of privileged
or other protected matter."            Fed.   R.   Civ. P.   45(d)(3)(A).
Additionally, the "party or attorney responsible for issuing and
serving   a    subpoena   must     take   reasonable   steps   to   avoid
imposing undue burden or expense on a person subject to the
subpoena."     Fed. R. Civ. P. 45(c)(1).       The burden to establish
that a subpoena imposes an undue burden is on the person opposing
its command.        Sinqletary v. Sterling Transp. Co., 289 F.R.D.

237, 241 (E.D. Va. 2012); Castle v. Jallah, 142 F.R.D. 618, 620
(E.D. Va. 1992); 9A Fed. Prac. & Proc. Civ. § 2463.1 (3d ed.).

     First, McFadden argues that he should not have to testify

while the Corporate Defendants' appeal is pending.^ He argues that


     ^ McFadden raises two other arguments for why he should not
have to testify, but, since the time of the filing of the motion
to quash, the Court has held that both are unpersuasive. First,
as stated earlier, this Court has already held that it is only
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he shares the same immunity as the Tribe and cannot be deposed by

third-party      subpoenas.          The    Court     finds     this     argument

unpersuasive,     at   least    insofar    as   it   pertains    to    McFadden's

employment at Bellicose and in his role as part owner of Eventide.

As has been common with the Corporate Defendants throughout this

litigation,    McFadden's      argument    pushes    the    doctrine   of tribal

immunity beyond its brink.         McFadden has failed to provide a single

case in which a court has held that an officer of a tribal entity

is   protected   by    his   employer's    sovereign       immunity from   being

questioned    about    his employment before         working for the tribal

entity.     Nor has the Court found any case that so holds. Further,

although the Supreme Court has acknowledged that tribal immunity

may cover tribal employees and officials acting within the scope

of their employment so that they cannot be sued, see Michigan v.

Bay Mills Indian Cmty., 572 U.S. 782, 791 n.4 (2014), the Supreme

Court has also held that tribal employees may be sued in their

individual     capacity      for   torts   committed       by   the    individual

employee.     See Lewis v. Clarke, 137 S. Ct. 1285, 1288 (2017).              If




""over [the] aspects of the case involved in the appeal." Williams,
No. 3:17-cv-461, ECF No. 323 at 8-9 (quoting Griggs, 459 U.S. at
58); see also Alice L. v. Dusek, 492 F.3d 563, 564 (5th Cir. 2007)
(per curiam).
      Second, McFadden argues that the subpoena subjects him to an
undue burden because whether the case against Matt Martorello
should be stayed was pending at the time the motion was filed.
That too was decided in a prior order, and the motion to stay was
denied. Williams, No. 3;17-cv-461, ECF No. 323 at 6-7.
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they can be sued in their individual capacity, surely they can be

subpoenaed for depositions as individuals.                Thus, the Court holds

that McFadden can be deposed for all activities unrelated to his

current      employment    at    Ascension,      which   include   his    roles    at

Bellicose and Eventide, the reasons for Bellicose's sale to the

Tribe, and the structure of the Bellicose sale.

        But, whether McFadden can be questioned about his employment

at Ascension must be left for another day.                  Although the Court

doubts that McFadden can altogether avoid testifying about his

role    at   Ascension    even   if   the   Fourth   Circuit    decides   that    the


Corporate Defendants are protected by the Tribe's immunity, the

Court believes that prudence dictates that Liang should not be

asked    about   his   role     at   Ascension   during   the   pendency of the

appeal.      If the Fourth Circuit affirms the decision rejecting the

claim to sovereign immunity, then discovery can be reopened to

allow inquiry.

        However, because of problems with discovery and delay caused

by dealing with broad claims of immunity from discovery interposed

by the Corporate Defendants, this case is now out of kilter.                      The

requested deposition is related to the merits of the claims against

Martorello.      And, it is correct that preserving testimony now would

be helpful to the plaintiffs.               However, there is pending a class

certification motion against Martorello that ought to be decided
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first.       Therefore,      the    deposition     allowed   here   will    not   be

scheduled until after class certification is decided.


                                     CONCLUSION


        In   sum,   the    Court    holds   that   the   plaintiffs   can    depose

McFadden for all activities unrelated to his current employment at

Ascension,     but they may         not ask    him   about   his employment at

Ascension      at   this    time.     Thus,   the    AMENDED   MOTION   TO   QUASH

PLAINTIFFS' SUBPOENA TO BRIAN MCFADDEN TO TESTIFY AT DEPOSITION IN


A CIVIL ACTION (EOF No. 4) will be granted in part and denied in

part.

     It is so ORDERED.



                                        Robert E. Payne
                                        Senior United States District Judge

Richmond, Virginia
Date: February 8, 2019
